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United States Bankruptcy Court
Middle District of Florida
Tampa Division

In re Floyd E, Egner, IIT Case No. 8:19-bk-01567-CPM
aka Floyd Egner Chapter 7
Susan L. Suby
aka Sue Suby,
Debtors
Official Form 427

Cover Sheet for Reaffirmation Agreement 1 25

Anyone wha is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement, and file
the documents within the time sct under Bankruptcy Rule 4008.

eo Explain the Repayment Terms of the Reaffirmation Agreement

I. Who is the creditor? PINELLAS FEDERAL CREDIT UNION

 

Name of the creditor

 

2. How much is the debt? On the date that the bankruptcy case is filed $7,795.04
To be paid under the reaffirmation agreement $7,808.06

$268.86 per month for 30 months (if fixed interest rate)

 

3. What is the Annual Before the bankruptcy case was filed
Percentage Rate (APR) 2.65%
of interest? (See

 

Bankruptcy Code § Under the reaffirmation agreement 2.65% Wl Fixed Raie
524(k)(3)(E).)
0 Adjustable Rate
4, Does collateral secure ONo
the debt?

W Yes, Describe the collateral. 2013 NISSANROGUE VIN: JN8ASSMV4DW658137

Current market value $ 7,400.00
This is an estimate by the creditor of the current market value and is NOT to be construed as
a judicial:admission by the Creditor as to the value for other purposes in this case.

 

 

ue

Does the creditor assert I No
that the debt is

)
nondischargeable? O Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is

nondischargeable.

 

 

***DEBTOR(S) TO COMPLETE ALL ENTRIES BELOW***

      
 

Using information from
Schedule I: Your
Income (Official Form

  
 

1061) and Schedule J: 6a. Combined monthly income f 6c. Monthly income from all $ Y SOK Ab
Your Expenses (Official from line 12 of Schedule 1 sources after payroll
Form 106)), fill in the deductions

amounts. 6b. Monthly expenses from fine S 5 V8. } 6f. | Monthly expenses -$, y: 10S) § /

22¢ of Schedule J

6c. Monthly payments on all -$ A 6g. Monthly payments on all -$ ft j

 

 

 

 

reaffirmed debts not listed on reaffirmed debts not
Schedule J included in monthly
expenses
6d, Scheduled net monthly 6h, Present net monthly $ i / : 56.6 q
income , income
Subtract lines 4b and 4c from 6a, Subtract lines 6f and 6g from Ge.
Tf the total is less than 0, put the If the total is less than 0, put the
number in brackets. number in brackets.

 

Official Form 427 Cover Sheet for Reaffirmation Agreement page |
Debtor |

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Floyd E, Egner, Ill aka Floyd Egner and Susan L. Suby aka Sue Suby

Case number (if known) 8:19-bk-01567-CPM

 

 

 

Are the income
amounts on lines 6a

{No

 

 

 

 

 

AE hier

 

 

 

 

 

 

 

 

 

 

 

 

 

and 6e different? 0 Yes. Explain why they are different and complete line (0.
8, Are the expense ONo ;
amounts on lines 6b cy . ' oy" la ff | ‘f.
and 6f different? ASYes. . Explain why they are different and complete line 10. Ou. oC iw le Ht €
oe
" ae : : seep 7
Debiors SE tome wid deducted pec
9, Is the net monthly {No
income in line 6h less .
than 0? OD Yes, A presumption of hardship arises (unless the creditor is a credit union).
Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living
expenses.
Complete line 10.
10. Debtor's certification I certify that each explanation on lines 7-9. is tnic and correct.
about lines 7-9
If any answer on lines 7-
9 is Yes, the debtor must” Nk ~O Si
sign here, x be Lela,
Tfall the answers on lines Si we f Debtor 1 YY Signature of Debtor 2 (Spouse Only ina Joint dah
7-9 are No, goto line 11.
11. Did an attorney CNo
represent the debtor in
negotiating the sf
reaffirmation Dives Has the attormey executed a declaration or an affidavit to support the reaffirmation agreement?
agreement? .
, Cl No
Hyves
Sign Here (To Be Completed by Attorney For Creditor)
I certify that the attached agreement is a true and correct copy of the reaffirmation agreement between
tie parties identified ory this Cover eet for Reaffirmation Agreement :
LM Ann Date OF of! 2014
Signature MM/DD/YYYY
| ‘
Printed Name
Check one:
O Debtor or Debtar's Attorney
Wi Creditor or Creditor's Attorney
Official Form 427 Cover Sheet for Reaffirmation Agreement

page 2
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Check box as directed in Part D: Debtor's Statement
B2400A/B ALT (Form 2400A/B ALT) Reaffirmation Agreement.
(Reaffirmation Agreement) (12/15) C Presumption of Undue Hardship

x No Presumption of Undue Hardship

 

 

 

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
In re
Floyd E. Egner, Il
aka Floyd Egner
Susan L. Suby
aka Sue Suby
CHAPTER 7
CASE NO, 8:19-bk-01567-CPM
Debtors

REAFFIRMATION AGREEMENT
[Indicate all documents included in this filing by checking each applicable box.]

MW Part A: Disclosures, Instructions, and Notice to Debtor!
W@ Part B: Reaffirmation Agreement

@ Part C: Certification by Debtor’s Attorney

Wi Part D: Debtor’s Statement Support of Reaffirmation
C} Part E: Motion for Court Approval

[Note: Complete Part E only if this Reaffirmation Agreement is not signed by an attorney for the
debtor who assisted in the negotiation of this Agreement. Note also: If you complete Part E, you
must prepare and file Form 2400C ALT - Order on Reaffirmation Agreement. ]

Name of Creditor:
PINELLAS FEDERAL CREDIT UNION
i [Check this box if] Creditor is a Credit Union as defined in §19(b)(1}(a)(iv) of the Federal

Reserve Act
PART A: DISCLOSURE STATEMENT, INSTRUCTIONS AND NOTICE TO DEBTOR
a. DISCLOSURE STATEMENT

Before Agreeing to Reaffirm a Debt, Review These Important Disclosures:
SUMMARY OF REAFFIRMATION AGREEMENT

This Summary is made pursuant to the requirements of the Bankruptcy Code.

DATE OF DISCLOSURE March 6, 2019
AMOUNT REAFFIRMED
The. amount of debt you have agreed to reaffirm: $7,808.06

The amount of debt you have agreed to reaffirm includes all fees and costs (if any) that have

 

'All references to “Debtor” shall include and refer to both of the Debtors in a case filed jointly by two
individuals.
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accrued as of the date of this disclosure. The interest rate disclosure is below. If the loan is an
adjustable rate loan then the total amount to be paid under this agreement may vary due to changes in
the interest rate. Your credit agreement may obligate you to pay additional amounts which may come
due after the date of this disclosure, including late charges and other charges as permitted by the lean
documents. If the loan is escrowed, then the total amount to be paid is subject to adjustment due to
changes in escrow as permitted in the loan agreement. Consult your credit agreement.

ANNUAL PERCENTAGE RATE 2.65%
X_Fixed Rate Variable Rate
[The annual percentage rate can be disclosed in different ways, depending on the type of debt.]

a, If the debt is an extension of credit other than under than an open end credit plan, the creditor
may disclose the annual percentage rate shown in (I) below, or, to the extent this rate is not readily
available or not applicable, the simple interest rate shown in (ii) below, or both.

(i) The above figure represents the Annual Percentage Rate under §128(a)(4) of the
Truth in Lending Act, as disclosed to the debtor in the most recent disclosure statement
given to the debtor prior to entering into the reaffirmation agreement with respect to the
debt or, if no such disclosure statement was given to the debtor, the annual percentage
rate as it would have been so disclosed.

b. If the reaffirmed debt is secured by a security interest or lien, which has not been waived or
determined to be void by a final order of the court; the following items or types of items of the debtor’s
goods or property remain subject to such security interest or lien in connection with the debt or debts
being reaffirmed in the reaffirmation agreement described in Part B.

Property Subject to Security Interest:

2013 NISSAN ROGUE VIN: JN8ASS5SMV4DW658137
Original Purchase Price of Original Amount of Loan:
$12,229.24

Optional---At the election of the creditor, a repayment schedule using one or a combination of
the following may be provided:

Repayment Schedule:

Your first payment in the amount of $268.86 is due on March 12, 2019, but the future payment
amount may be different. Consult your reaffirmation agreement or credit agreement, as applicable. The
payment amount will change on account of changes in the interest rate (if a variable rate loan) and
changes due to escrow items such as taxes and insurance (if an escrowed loan) and may change on
account of other provision of the loan agreement.

Your payment schedule will consist of approximately 30 (number) payments in the amount set
forth above payable on the 12TH (day) of each month. The total number of payments may change on
account of missed future payments, late future payments, changes in the interest rate, changes in escrow
items, and other changes as provided in the loan agreement.

2, INSTRUCTIONS AND NOTICE TO DEBTOR

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to
make sure the decision is in your best interest. If these steps are not completed, the reaffirmation
agreement is not effective, even though you have signed it.

I. Read the disclosures in this Part A carefully. Consider the decision to reaffirm carefully.
Then, if you want to reaffirm, sign the reaffirmation agreement in Part B (or you may use a separate
agreement you and your creditor agree on).

2, Complete and sign Part D and be sure you can afford to make the payments you are agreeing to
make and have received a copy of the disclosure statement and a completed and signed reaffirmation
agreement.

3, If you were represented by an attorney during the negotiation of your reaffirmation.agreement,
the attorney must have signed the certification in Part C,
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4, If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, you must have completed and signed Part E.

5, The original of this disclosure must be filed with the court by you or your creditor. Ifa
separate reaffirmation agreement (other than the one in Part B) has been signed, it must be attached.

6. If the creditor IS NOT a Credit Union and you were represented by an attorney during the
negotiation of your reaffirmation agreement, your reaffirmation agreement becomes effective upon filing
with the court unless the reaffirmation is presumed to be an undue hardship as explained in Part D. If the
creditor IS a Credit Union and you were represented by an attorney during the negotiation of your
reaffirmation agreement, your reaffirmation agreement becomes effective upon filing with the court.

7, If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, it will not be effective unless the court approves it. The court will notify you and the creditor
of the hearing on your reaffirmation agreement. You must attend this hearing in bankruptcy court where
the judge will review your reaffirmation agreement, The bankruptcy court must approve your
reaffirmation agreement as consistent with your best interests, except that no court approval is required if
your reaffirmation agreement is for a consumer debt secured by a mortgage, deed of trust, security deed,
or other lien on your real property, like your home.

8. YOUR RIGHT TO RESCIND (CANCEL) YOUR REAFFIRMATION AGREEMENT

You may rescind (cancel) your reaffirmation agreement at any time before the bankruptcy court
enters a discharge order, or before the expiration of the 60-day period that begins on the date your
reaffirmation agreement is filed with the court, whichever occurs later. To rescind (cancel) your
reaffirmation agreement, you must notify the creditor that your reaffirmation agreement is rescinded (or
canceled).

Frequently Asked Questions:

What are your obligations if you reaffirm:the debt? A reaffirmed debt remains your personal
legal obligation. It is not discharged in your bankruptcy case. That means that if you default on your
reaffirmed debt after your bankruptcy case is over, your creditor may be able to take your property or
your wages. Otherwise, your obligations will be determined by the reaffirmation agreement which may
have changed the terms of the original agreement. For example, if you are reaffirming an open end credit
agreement, the creditor may be permitted by that agreement or applicable law to change the terms of that
agreement in the future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not
eliminate any lien on your property. A “lien” is often referred to as a security interest, deed of trust,
mortgage or security deed. Even if you do not reaffirm and your personal liability on the debt is
discharged, because of the lien your creditor may still have the right to take the property securing the lien
if you do not pay the debt or default on it. If the lien is on an item of personal property that is exempt
under your State’s law or that the trustee has abandoned, you may be able to redeem the item rather than
reaffirm the debt. To redeem, you must make a single payment to the creditor equal to the amount of the
allowed secured claim, as agreed by the parties or determined by the court.

NOTE: When this disclosure refers to what a creditor “may” do, it does not use the word
“may” to give the creditor specific permission. The word “may” is used to tell you what
might occur if the law permits the creditor to take the action. If you have questions about
your reaffirming a debt or what the law requires, consult with the attorney who helped
you negotiate this agreement reaffirming a debt. If you don’t have an attorney helping
you, the judge will explain the effect of your reaffirming a debt when the hearing on the
reaffirmation agreement is held.
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PART B: REAFFIRMATION AGREEMENT.

I (we) agree to reaffirm the debts arising under the credit agreement described below. I (we)
agree to the reaffirm the Credit Agreement and agree to be bound by all the terms and conditions
of the Credit Agreement which is incorporated herein by reference. | (we) agree to the annual
percentage rate disclosed in Part A and agree to the make payments as described in the
repayment schedule disclosed in Part A each month until the debt has been satisfied. I (we)
waive any defense(s) that I (we) may have to the indebtedness due under the credit agreement by
reason of my bankruptcy or otherwise,

1, Property Subject to Security Interest: | See Disclosure Statement, Part A.
2. Original Loan Amount: . See Disclosure Statement, Part A.
3. Description of any changés to the credit agreement made as part of this reaffirmation

agreement: NONE
4, If you decide to exercise your right to rescind this Reaffirmation Agreement, the Notice
of Rescission shall be sent in writing to the Creditor at the following address:

PINELLAS FEDERAL CREDIT UNION
10273 Ulmerton Road
Largo, FL 33771

SIGNATURES:
(Debtor(s) must also sign in Part D, below)

Debtor Signs! IY f Wy GO G4 sl La , E é WILE om Biel t @
Joint Debtor Signs: gq LAS (? ): Sh O34-/A-[ q

 
 
  

 

Susan C. Suby

2 oft of fe ae ofs hc oe of oe a oft abe fe a ake aft a af 2 ae 5 oe oe fe fe oe ofc obs oe oe oe oe oe fee Shee ot ie a oe fe fe 3 2 oe oe oe oe oe it ee ae ok 2 oie ke oe He 9 i oo OE oF oe

Accepted For Creditor by Attorney or Agent for Creditor:

 

Date: 04 lo 8 2614

sica Hicks as Attorne}-in Fact or agent for Creditor
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PART C: CERTIFICATION BY ATTORNEY FOR DEBTOR(S) (If Any)

[To be completed and filed only if the attorney represented the debtor during the course of negotiating
this agreement. ]

I hereby certify that (1) this agreement represents a fully informed and voluntary agreement by the
debtor; (2) this agreement does not impose an undue hardship on the debtor or any dependent of the
debtor; and (3) I have fully advised the debtor of the legal effect and consequences of this agreement and
any default under this agreement.

C1 /Check box, if applicable and the creditor is not a Credit Union.] A presumption of undue hardship
has been established with respect to thi €ement. In my opinion, however, the Debtor is able to make
the required payment.

Attorney Signs: [ NN Date: 3 8 Cy

Carolyn ee N

  
   
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PART D: DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

[Read and complete sections | and 2, OR, if the creditor is a Credit Union and the
debtor is represented by an attorney who signed this Reaffirmation Agreement, read
section 3.

Sign the appropriate signature line(s) and date your signature. If you complete sections
1 and 2 and your income less monthly expenses does not leave enough to make the
payments under this reaffirmation agreement, check the box at the top of page /
indicating “Presumption of Undue Hardship.”

Otherwise, check the box at the top of page | indicating ‘No Presumption of Undue
Hardship ”]

1. I believe this reaffirmation agreement will not impose an undue hardship on my dependents or
me. I can afford to make the payments on the reaffirmed debt because my monthly income (take home
pay plus any other income received) is $ , and my actual current monthly
expenses including monthly payments on post-bankruptcy debt and other reaffirmation agreements total
$ leaving $ , to make the required payments on this
reaffirmed debt.

2, Rule 4008 Comparison of Net Monthly Income and Current Monthly Expenses as listed
in this Reaffirmation Agreement with Net Monthly Income and Current Monthly Expenses as stated in
Schedules I and J:

The total net monthly income (take home pay plus any other income received) as stated on my-
Schedule I when I filed by bankruptcy petition is $ , and the total monthly
expenses as listed on my Schedule J is $ . .

These amounts are (check one):

Oo the same as the net monthly income and total monthly expenses as listed in the
Debtor's Statement above required by 11 U.S.C. §524(k), or
Ol different from the net monthly income and total monthly expenses as listed in the

Debtor's Statement above required by 11 U.S.C. §524(k). If different, the Debtor(s) must include an
explanation of any difference, 1 understand that if my income less my monthly expenses does not leave
enough to make the payments, this reaffirmation agreement is presumed to be an undue hardship on me
and must be reviewed by the court. However, this presumption may be overcome if I explain to the
satisfaction of the court how I can afford to make the payments here:

 

 

 

 

(attach an additional sheet if necessary)

3. Treceived a copy of the Reaffirmation Disclosure Statement in Part A anda
completed and signed reaffirmation agreement.

SIGNATURES:
(Debtor(s) must also sign in Part B, above)

  

Debtor Signs:

Joint Debtor signs! _S Ip Actin C@ Sul. Date: (23-{d, 7 [F
‘Susan C. Suby
— Or—
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7

[If the creditor is a Credit Union and the debtor is represented by an attorney who negotiated and signed
this Reaffirmation Agreement]

T believe this reaffirmation agreement is in my financial interest. I can afford to make the
payments on the reaffirmed debt. I received a copy of the Reaffirmation Disclosure Statement in Part A
and a completed and signed reaffirmation agreement.

SIGNATURES:
ebtor(s) must a Osi) }

Debtor ae 7 , 4 fe, Date: ZEUS
sro se Suge,0 <i ae: OA- [o Ht"

Susan C. Suby

   
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PART E: MOTION FOR COURT APPROVAL

[To be completed and filed only if the debtor is not represented by an attorney during the course of
negotiating this agreement and who signed this agreement. A separate Motion which refers to this
Reaffirmation Agreement may also be used.]

a“

a
MOTION BY DEBTOR(S) FOR COURT APPROVAL OF REAF FIRMATION-AGREEMENT

T (we), the debtor(s), affirm the following to be true and correct:

 

| am not represented by an attorney in connection with this rea ffmation agreement.

 
  

I believe this reaffirmation agreement is in my best interpsf based on the income and
expenses I have disclosed in my Statement in Support of this affirmation agreement, and
because (provide any additional relevant reasons the court should consider):

ZL.

 

ZL.

 
 

 

Therefore, I ask the court for an order approving this reaffirmation agreement under the
following provisions (check all applicable“boxes):

0111 U.S.C. § 524(9¥(6) (debtor is not represented by an attorney during the
course of the negotiation of the reaffirmation agreement)

1 11 U.S.C. 8524(m) (presumption of undue hardship has arisen because
monthly expenses exceed wonthly income)

SIGNATURES:
(If Motion completed, Debtor(s) must sign below and in Parts B and D, above)

 

Debtor Signs: Date:
” Floyd Emmett Egner UI
/
Joint Debtor Signs: Date:

 

Susan C. Suby
